Case 6:04-cv-00636-JA-JGG Document 68 Filed 11/16/04 Page 1 of 4 PagelD 400

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

LISA HAMILTON CASE NO. 6:04-CV-636-ORL-28JG
Plaintiff
V. 2

The Florida Department of Education/ -
Division of Vocational Rehabilitation,

Judy Whitaker,David Givens,Joyce A. Wells,
David Bogert and Dr. Leonard Skizynski

 

Defendants

APPLICATION FOR CLERK'S ENTRY OF DEFAULT
AS TO DEFENDANT DR. LEONARD SKIZYNSKI

The Presiding Judge John Antoon II entered Docket ( 61) on October 15, 2004 granting
Plaintiff leave to file a Second Amended Compiaint within 20 Days of entry of the Order Docket
(61). The Plaintiff mailed the Defendant Dr. Leonard Skizynski through his Counsel - The Health
Law Firm - by Certified Mail receipt requested on November 1, 2004 a Court stamped copy of the
Plaintiffs Second Amended Complaint (see Exhibit A). The Defendant Leonard Skizynski and
his Counsel - The Health Law Firm - received and signed for this Second Amended Complaint on
November 2, 2004 (see Exhibit B). Federal rules of Civil Procedure 6(e) adds 3 days to the
computation of time when service is by mail giving Defendant Dr. Leoonard Skizynski's Counsel
13 days to respond. Federal Rules of Civil Procedure 6(a) states the day of the act, event, or
default from which the designated period of time begins to run shall not be included so the
Defendant Leonard Skizynski - by show of Exhibit B - the clock started to run on the next day
November 3, 2004. Federal rules of Civil Procedure 15 (a) states within 10 days after service of

the Second amended pleading a Defendant must plead or respond to the Complaint. The
Case 6:04-cv-00636-JA-JGG Document 68 Filed 11/16/04 Page 2 of 4 PagelD 401

Defendant Leonard Skizynski did not plead or answer to the Plaintiffs Second Amended
Complaint by 5:00 PM, close of business day November 15, 2004 - the 13th day. This failure to
respond makes the Defendant Dr. Leonard Skizynski in Default in these proceedings. As required
by 50 U.S.C Section 520 the Plaintiff makes the statement that the Defendant is not in the
Military, the Defendant is not a Juvenile and the Defendant is not incompetent. Pursuant to
Federal Rules of Civil Procedure 55 the Plaintiff seeks Clerk's entry of Default against Defendant

Dr. Leonard Skizynski this 16th Day of November 2004.

I certify that copies have been certified mailed to all parties involved on
this day November 16,

2004.

Dr. Leonard Skizynski

THE HEALTH LAW FIRM

220 East Central Parkway

Suite 2030

Altamonte Springs, Florida 32701

The Florida Department of Education, Division of Vocational Rehabilitation Services /
Judy Whitaker / David Givens

325 West Gains Street, Suite 1244

Tallahassee, Florida 32399

Joyce A. Wells/ David Bogert
CONROY, SIMBERG, GANON
KREVANS & ABEL, P.A.

Two South Orange Avenue

Suite 300

Orlando, Florida 32801

 
Case 6:04-cv-00636-JA-JGG _ Document 6 Filed

NTs.

— OAcH Pye cae
eisai ai-19) VN]

tetera ss

pe eee Eu Ba Meg tet) ele eae

 

 

Postage

Certified Fee |

Return Reciept Fee
(Endorsement Required)

Restricted Delivery Fee
(Endorsement Required)

Total roe & Fees

 

  

 

$ $1.29 KORHART R
$2, a0 Ais
<
oe
x
4 24

 

  

 

 

 

 

fy HLS ig/
Po | ng

 

7004 L1bO 0003 1783 1574.

 

Street, Apt. No;
or PO Box No.

Fs lok
by ena Re ihe Pine

rT ald Za Lem 2

Seco rites

 

 

1/16/04, Page 3 of 4 PageID 402

fr
Case 6:04-
-cv-00636-JA-JGG Document Z op 11/16/04 Page 4 of 4 PagelD 403

hibit &

    
 

    

Povey ge i i ee eye eh ak

     

san tb) cee) ie ea ea rie)

' Complete items 1, 2, and 3..Also complete A. Signatyre
' tem 4 if Restricted Delivery is desired. X A SY C4Ggent
| m@ Print-your name and address on the reverse * [] Addressee

so that we can return the card to'you. 'B. Received by ( Printed Name) C. Date of Delivery
- Attach this card to the back of the mailpiece, iL ¢ i / 2 [ O l /

or on the front if space permits. :
= Dr Is delivery address different from item 1? C1 Yes

_ 4, Article Addressedfo: /. if YES;.enter delivery address below: C1 No
The, C ee A au’) :
{

240 Fast ertveal “Tar Roes ee

3, Service Type |
Ah ryt on pes CO Certified Mail 1 Express Mail. .
A 1] Registered Ci Return Receipt for Merchandise >

 
 

 

 

 

 

 

 

 

 

 

 

 

 

‘S956 | Dl insured Mail £1.0.0.D.
4, Restricted Delivery? (Extra Fee) O1-Yes
“2 Article Number sn04 UbbO O003 1743 157% :

 

i (Transfer from. service label) . —-
i PS Form 3811, February 2004 Domestic. Return Receipt 102595-02-M-4540_

 
